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                                                               1    MARTIN J. KRAVITZ, ESQ.
                                                                    Nevada Bar No. 83
                                                               2    L. RENEE GREEN, ESQ.
                                                                    Nevada Bar No. 12755
                                                               3    KRAVITZ SCHNITZER JOHNSON
                                                                    WATSON & ZEPPENFELD, CHTD.
                                                               4    8985 So. Eastern Avenue, Suite 200
                                                                    Las Vegas, Nevada 89123
                                                               5    Telephone: (702) 362-6666
                                                                    Facsimile: (702) 362-2203
                                                               6    mkravitz@ksjattorneys.com
                                                                    rgreen@ksjattorneys.com
                                                               7
                                                                    Attorneys for Defendants,
                                                               8    ACCESS MEDICAL, LLC and
                                                                    ROBERT “SONNY” WOOD
                                                               9

                                                              10                              UNITED STATES DISTRICT COURT
                                                                                                   DISTRICT OF NEVADA
                                                              11
                                                                    NAUTILUS INSURANCE COMPANY,                     Case No.: 2:15-cv-00321-JAD-GWF
                                                              12
WATSON & ZEPPENFELD, CHTD.
KRAVITZ SCHNITZER JOHNSON




                                                              13                         Plaintiff,
                                                                    vs.
                             8985 S. Eastern Ave., Ste. 200
                               Las Vegas, Nevada 89123




                                                              14
                                                                    ACCESS MEDICAL, LLC; ROBERT
                                    (702) 362-6666




                                                              15    CLARK WOOD, II; FLOURNOY
                                                                    MANAGEMENT, LLC; and DOES 1-10,
                                                              16    inclusive,
                                                              17                     Defendants.

                                                              18
                                                                                         SECOND MOTION AND PROPOSED ORDER
                                                              19    Defendants.          TO WITHDRAW AS COUNSEL OF RECORD
                                                              20
                                                                           MARTIN J. KRAVITZ, ESQ. and L. RENEE GREEN, ESQ., respectfully move this
                                                              21
                                                                    court for an order permitting Martin J. Kravitz, Esq. and L. Renee Green, Esq. (Counsel) to
                                                              22
                                                                    withdraw as counsel for Plaintiff, ROBERT “SONNY” WOOD, an individual, and ACCESS
                                                              23
                                                                    MEDICAL, LLC, a Delaware Limited Liability Corporation.
                                                              24
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                                                               1            This Motion is made and based upon the Memorandum of Points and Authorities

                                                               2    submitted herewith, Local Rule IA 11-6 and (e), the Declaration of Martin J. Kravitz, Esq.

                                                               3    attached hereto, and the pleadings and papers on file herein.

                                                               4            DATED this 1st day of December, 2021.

                                                               5                                                     KRAVITZ SCHNITZER JOHNSON
                                                                                                                     WATSON & ZEPPENFELD, CHTD.
                                                               6

                                                               7
                                                                                                                     By:/s/ Martin J. Kravitz, Esq.
                                                               8                                                            MARTIN J. KRAVITZ, ESQ.
                                                                                                                            Nevada Bar No. 83
                                                               9                                                            L. RENEE GREEN, ESQ.
                                                                                                                            Nevada Bar No. 12755
                                                              10                                                            8985 So. Eastern Avenue, Suite 200
                                                                                                                            Las Vegas, Nevada 89123
                                                              11                                                            Attorney for Defendants

                                                              12                          DECLARATION OF MARTIN J. KRAVITZ, ESQ.
WATSON & ZEPPENFELD, CHTD.
KRAVITZ SCHNITZER JOHNSON




                                                              13            I, Martin J. Kravitz, hereby declare under penalty of perjury as follows:
                             8985 S. Eastern Ave., Ste. 200
                               Las Vegas, Nevada 89123




                                                              14            1.     I am Senior Partner in the law firm of Kravitz Schnitzer Johnson Watson &
                                    (702) 362-6666




                                                              15    Zeppenfeld, Chtd., formerly known as Kravitz, Schnitzer & Johnson, Chtd.

                                                              16            2.     I am knowledgeable about all matters set forth in this Declaration and know them

                                                              17    to be true, except where stated upon information and belief, and in those instances I believe them

                                                              18    to be true.

                                                              19            3.     This firm has been co-counsel in this matter with Jordan P. Schnitzer, Esq.,

                                                              20    representing the Defendants, ROBERT “SONNY” WOOD, and ACCESS MEDICAL, LLC.

                                                              21    When the Nevada Supreme Court accepted the Certified Question in late 2019 in Case No.

                                                              22    79130, it was our intent to disassociate as counsel in all of pending cases involving Mr. Wood

                                                              23    and Access Medical. On January 21, 2020, a Stipulation of Change of Counsel to remove the

                                                              24    Martin J. Kravitz, Esq. and L. Renee Green, Esq. was filed in the Nevada Supreme Court, and

                                                              25    thereby relieving responsibility in that case.

                                                              26            4.     In this matter, we have not communicated with Mr. Wood for approximately two

                                                              27    (2) years. All work on behalf of Defendants have been handled solely by Jordan P. Schnitzer of

                                                              28    The Schnitzer Law Firm.

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                                                               1             5.     L. Renee Green, Esq. has now left my firm. I hereby request the Court grant the

                                                               2    Motion to Withdraw as Counsel for Defendants, and remove me and L. Renee Green from the

                                                               3    service list.

                                                               4             6.     The last known address for Mr. Wood and Access Medical, LLC is:

                                                               5                    Robert “Sonny”Wood
                                                                                    4955 S. Durango Dr. Suite 180
                                                               6                    Las Vegas, NV 89113
                                                               7                    Access Medical, LLC
                                                                                    4955 S. Durango Dr. Suite 180
                                                               8                    Las Vegas, NV 89113
                                                               9
                                                                             7.     There is no prejudice in granting this Motion to Withdraw as Defendants will
                                                              10
                                                                    continue to be represented by Jordan P. Schnitzer, Esq.
                                                              11
                                                                             I declare under penalty of perjury the foregoing is true and correct.
                                                              12
WATSON & ZEPPENFELD, CHTD.
KRAVITZ SCHNITZER JOHNSON




                                                                             DATED this 1st day of December, 2021.
                                                              13
                             8985 S. Eastern Ave., Ste. 200




                                                                                                                           /s/ Martin J. Kravitz
                               Las Vegas, Nevada 89123




                                                              14
                                                                                                                           MARTIN J. KRAVITZ
                                    (702) 362-6666




                                                              15

                                                              16                             MEMORANDUM OF POINTS AND AUTHORITIES
                                                              17
                                                                             The United States District Court Local Rules IA 11-6 provides that an attorney may
                                                              18
                                                                    withdraw from representation of a client under certain circumstances. Specifically, Local Rule
                                                              19
                                                                    IA 11-6(b) states:
                                                              20

                                                              21                    If an attorney seeks to withdraw after appearing in a case, the
                                                                                    attorney must file a motion or stipulation and serve it on the
                                                              22                    affected client and opposing counsel. The affected client may, but
                                                                                    is not required to, file a response to the attorney’s motion within 14
                                                              23
                                                                                    days of the filing of the motion, unless the court orders otherwise.
                                                              24

                                                              25             Local Rule IA 11-6(e) further provides: “Except for good cause shown, no withdrawal or

                                                              26    substitution will be approved if it will result in delay of discovery, the trial, or any hearing in the

                                                              27    case.”

                                                              28    ///

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                                                               1           Good cause exists to allow Martin J. Kravitz, Esq. and L. Renee Green, Esq. to withdraw

                                                               2    as co-counsel for Defendants as outlined in the Declaration of Martin J. Kravitz, Esq. There will

                                                               3    be no delay in the proceeding as Jordan P. Schnitzer, Esq. will remain counsel for Defendants.

                                                               4                                            CONCLUSION
                                                               5
                                                                           Based upon the foregoing, Martin J. Kravitz, Esq. and L. Renee Green, Esq. respectfully
                                                               6
                                                                    request that this Court grant their Motion to Withdraw as counsel for Defendants, ROBERT
                                                               7
                                                                    “SONNY” WOOD, and ACCESS MEDICAL, LLC.
                                                               8
                                                                           DATED this 1st day of December, 2021.
                                                               9
                                                                                                                KRAVITZ SCHNITZER JOHNSON
                                                              10                                                WATSON & ZEPPENFELD, CHTD.

                                                              11
                                                                                                                By:/s/ Martin J. Kravitz, Esq.
                                                              12
WATSON & ZEPPENFELD, CHTD.
KRAVITZ SCHNITZER JOHNSON




                                                                                                                       MARTIN J. KRAVITZ, ESQ.
                                                                                                                       Nevada Bar No. 83
                                                              13                                                       L. RENEE GREEN, ESQ.
                             8985 S. Eastern Ave., Ste. 200




                                                                                                                       Nevada Bar No. 12755
                               Las Vegas, Nevada 89123




                                                              14                                                       8985 So. Eastern Avenue, Suite 200
                                    (702) 362-6666




                                                                                                                       Las Vegas, Nevada 89123
                                                              15
                                                                                                                ORDER
                                                              16
                                                                                                       IT IS SO ORDERED
                                                              17           IT IS SO ORDERED:
                                                                                                       DATED: 10:28 am, December 02, 2021
                                                              18

                                                              19
                                                                                                             UNITED STATES DISTRICT COURT JUDGE
                                                              20                                       BRENDA WEKSLER
                                                                                                       UNITED STATES MAGISTRATE JUDGE
                                                              21

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                                                               1                                      CERTIFICATE OF SERVICE
                                                               2           I hereby certify that on the 1st day of December, 2021, pursuant to Local Rule 5.1, I

                                                               3    serviced the foregoing SECOND MOTION AND PROPOSED ORDER TO WITHDRAW
                                                               4    AS COUNSEL OF RECORD, via the Court's CM/EMF electronic filing system addressed to
                                                               5    all parties on the e-service list and by mail, as follows:

                                                               6    Jordan P Schnitzer Jordan@theschnitzerlawfirm.com, melisa@theschnitzerlawfirm.com,
                                                                    olivia@theschnitzerlawfirm.com
                                                               7
                                                                    Eric Sebastian Powers      Eric.powers@ericpowerslaw.com
                                                               8

                                                               9    Linda W. Hsu      lhsu@selmanlaw.com, psmith@selmanlaw.com, slipsitz@selmanlaw.com

                                                              10    Robert “Sonny”Wood
                                                                    4955 S. Durango Dr. Suite 180
                                                              11    Las Vegas, NV 89113
                                                              12
WATSON & ZEPPENFELD, CHTD.
KRAVITZ SCHNITZER JOHNSON




                                                                    Access Medical, LLC
                                                                    4955 S. Durango Dr. Suite 180
                                                              13    Las Vegas, NV 89113
                             8985 S. Eastern Ave., Ste. 200
                               Las Vegas, Nevada 89123




                                                              14
                                                                    Flournoy Management, LLC
                                    (702) 362-6666




                                                              15    8550 W. Charleston Blvd.
                                                                    Suite 102-355
                                                              16    Las Vegas, NV 89117
                                                              17

                                                              18                                           /s/ Cynthia Lowe
                                                                                                           An employee of Kravitz Schnitzer Johnson
                                                              19                                           Watson & Zeppenfeld, Chtd.

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